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                                   3                                 UNITED STATES DISTRICT COURT

                                   4                             NORTHERN DISTRICT OF CALIFORNIA

                                   5                                         SAN JOSE DIVISION

                                   6

                                   7     SCOTT JOHNSON,                                     Case No. 21-cv-02859-BLF
                                   8                    Plaintiff,
                                                                                            ORDER DENYING AS MOOT
                                   9             v.                                         ADMINISTRATIVE MOTION FOR
                                                                                            RELIEF
                                  10     FOGO DE CHAO CHURRASCARIA
                                         (SAN JOSE) LLC,                                    [Re: ECF No. 44]
                                  11
                                                        Defendant.
                                  12
Northern District of California
 United States District Court




                                  13          Defendant has filed an administrative motion for relief pursuant to Civil Local Rule 7-11

                                  14   seeking a Court order requiring Plaintiff Scott Johnson to appear personally at the scheduled joint

                                  15   site inspection and provide information “as to how his needs were not accommodated” or, in the

                                  16   alternative, to allow Defendant to conduct a limited deposition of Plaintiff. ECF No. 44.

                                  17          The motion is DENIED AS MOOT. Plaintiff’s response indicates that he will personally

                                  18   attend the joint site inspection (along with counsel). As to what information must be exchanged,

                                  19   the parties SHALL abide by paragraph 7 of General Order 56, which specifies the procedure for

                                  20   conducting the joint site inspection. No other relief is warranted at this juncture.

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                                  22   Dated: March 15, 2022

                                  23                                                    ______________________________________
                                                                                        BETH LABSON FREEMAN
                                  24                                                    United States District Judge
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